Case No. 1:21-cv-03417-NYW-SBP Document 103 filed 07/10/24 USDC Colorado pg 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 21-cv-3417-NYW-SBP

   HOLLY KLUTH,

           Plaintiff,

   v.

   TONY SPURLOCK, in his individual capacity, and
   DARREN WEEKLY, in his official capacity,

           Defendants.


                                     NOTICE OF SETTLEMENT


           Plaintiff Holly Kluth and Defendants Tony Spurlock and Darren Weekly, in his official

   capacity, pursuant to the D.C.COLO.LCivR 40.2(b) and Civ. Practice Standard 16.6(c) hereby

   give notice that they have reached an enforceable settlement agreement fully resolving all claims

   in this matter.

                                                Respectfully submitted,

   s/ Felipe Bohnet-Gomez                       s/ William T. O’Connell, III
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                                                /s/ Timothy M. Kratz
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Case No. 1:21-cv-03417-NYW-SBP Document 103 filed 07/10/24 USDC Colorado pg 2 of 2




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